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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 UNITED STATES OF AMERICA


 v.                                             CRIMINAL CASE NO.
                                                1:11-cr-00060-ODE-RGV
 ALBERT ESPINAL

                   ORDER FOR SERVICE OF FINAL REPORT,
                     RECOMMENDATION, AND ORDER

       Attached is the Final Report, Recommendation, and Order of the United States

Magistrate Judge made in accordance with 28 U.S.C. § 636(b)(1) and N.D. Ga. Local

Criminal Rule 59(2)(a)-(b). Let the same be filed and a copy, with a copy of this

Order, be served upon counsel for the parties.

       Pursuant to 28 U.S.C. § 636(b)(1), each party may file written objections, if any,

to the Report and Recommendation within fourteen (14) days of receipt of this

Order. Should objections be filed, they shall specify with particularity the alleged

error(s) made (including reference by page number to the transcript if applicable)

and shall be served upon the opposing party. The party filing objections will be

responsible for obtaining and filing the transcript of any evidentiary hearing for

review by the District Court. Failure to object to this Report and Recommendation

waives a party’s right to review. Fed. R. Crim. P. 59(b)(2).
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      Pursuant to Title 18, U.S.C. § 3161(h)(1)(F), the above-referenced fourteen (14)

days allowed for filing objections is EXCLUDED from the computation of time

under the Speedy Trial Act, whether or not objections are actually filed. The

Clerk is DIRECTED to submit the Report and Recommendation with objections, if

any, to the District Court after expiration of the above time period.

      IT IS SO ORDERED and DIRECTED, this 29th day of August, 2011.




                                       RUSSELL G. VINEYARD
                                       UNITED STATES MAGISTRATE JUDGE




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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
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 v.                                             CRIMINAL CASE NO.
                                                1:11-cr-00060-ODE-RGV
 ALBERT ESPINAL


            FINAL REPORT, RECOMMENDATION, AND ORDER

       Defendant Albert Espinal (“Espinal”), a/k/a Remy, is charged along with five

co-defendants in a ten-count indictment. [Doc. 1]. Specifically, Espinal is charged

with conspiring to take and obtain and actually taking property consisting of illegal

drugs and proceeds from drug trafficking by means of actual and threatened force,

violence, and intimidation from the presence of individuals engaged in an activity

affecting interstate commerce, and with knowingly obstructing, delaying, and

affecting commerce and the movement of articles and commodities in such

commerce by robbery in violation of 18 U.S.C. §§ 1951(a) and 2. [Id.]. Espinal is also

charged with knowingly attempting to possess with the intent to distribute at least

five kilograms of cocaine, and with knowingly possessing with the intent to

distribute at least 500 grams of cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1),
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(b)(1)(A), (b)(1)(B) and 18 U.S.C. § 2. [Id.].1 Pending before the Court are Espinal’s

motion for a bill of particulars, [Doc. 33], and motion to suppress evidence and

statements, [Doc. 31].2 Following an evidentiary hearing on Espinal’s motion to

suppress,3 the parties filed a stipulation as to certain facts, [Doc. 56], and post-

hearing briefs, [Docs. 58, 60, & 64], and the pending motions are ready for ruling.

For the following reasons, Espinal’s motion for a bill of particulars, [Doc. 33], is

GRANTED, and it is RECOMMENDED that his motion to suppress evidence and

statements, [Doc. 31], be DENIED.

                                   I. DISCUSSION

A.    Espinal’s Motion for Bill of Particulars, [Doc. 33]

      Espinal has filed a motion for a bill of particulars with regard to several counts

of the indictment pursuant to Federal Rule of Civil Procedure 7(f). [Doc. 33].

Specifically, Espinal seeks the identification of the “other known” unindicted co-




      1
          The indictment also includes a forfeiture provision. [Doc. 1 at 11-13].
      2
        Additionally, co-defendant Jose Reyes (“Reyes”) has also filed pretrial
motions in this case, see [Docs. 25 & 26], which will be addressed in a separate
Report and Recommendation.
      3
        See Doc. 55 for a transcript of the evidentiary hearing held on May 19, 2011.
Citations to the evidentiary hearing transcript hereinafter will be referred to as “(Tr.
at ___).” In addition, Espinal submitted an exhibit during the hearing, which will
be referred to as “(Espinal Ex. ___).”

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conspirators as alleged in Counts One, Six, Seven, Eight, Nine, and Ten of the

indictment, arguing that the information is essential to his defense. [Id. at 4].

      Rule 7(f) of the Federal Rules of Criminal Procedure provides that the Court

“may direct the government to file a bill of particulars.” Fed. R. Crim. P. 7(f). “The

purpose of a true bill of particulars is threefold: ‘to inform the defendant of the

charge against him with sufficient precision to allow him to prepare his defense, to

minimize surprise at trial, and to enable him to plead double jeopardy in the event

of a later prosecution for the same offense.’” United States v. Reddy, Criminal

Action File No. 1:09-CR-0483-ODE/AJB, 2010 WL 3210842, at *5 (N.D. Ga. Apr. 5,

2010), adopted as modified by 2010 WL 3211029, at *1 (N.D. Ga. Aug. 11, 2010)

(quoting United States v. Cole, 755 F.2d 748, 760 (11th Cir. 1985)). See also United

States v. Colson, 662 F.2d 1389, 1391 (11th Cir. 1981). The information sought by

Espinal regarding the identity of the “other known” unindicted co-conspirators is

within the proper scope of a bill of particulars. See United States v. Barrentine, 591

F.2d 1069, 1077 (5th Cir. 1979) (“A bill of particulars is a proper procedure for

discovering the names of unindicted coconspirators who the government plans to

use as witnesses.”). See also United States v. Belfast, No. 06-20758-CR, 2007 WL

1879909, at *4 (S.D. Fla. June 29, 2007) (“[S]ome courts in this circuit have granted a

bill of particulars when it sought the names of unindicted co-conspirators and the



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defendant did not know who they were.”) (citing United States v. Keller, 916 F.2d

628, 634 (11th Cir. 1990) (“‘an essential element of the offense is the identity of the

individuals who agreed’”)). The government has not opposed Espinal’s motion, and

it is hereby ORDERED that Espinal’s motion for a bill of particulars, [Doc. 33], is

GRANTED.

B.    Espinal’s Motion to Suppress Evidence and Statements, [Doc. 31]

      Espinal moves to suppress evidence and statements obtained as a result of his

stop, detention, and subsequent arrest on July 9, 2009, [Doc. 31], which the

government opposes, [Docs. 58 & 64]. Espinal contends that the officers violated his

Fourth Amendment rights when they initially stopped and questioned him without

reasonable suspicion on July 9, 2009. [Doc. 60]. Specifically, Espinal contends that

nothing gave rise to the conclusion that he was engaged in serious criminal activity

that would warrant his detention. [Id.]. As such, Espinal maintains that any

statements and evidence, including the court order and backpack recovered from

the truck and the suspected cocaine recovered from his person, resulted from the

government’s exploitation of that illegality and should be suppressed. [Id.].

      1.     Statement of Facts

      On July 9, 2009, Gwinnett County Police Department (“GCPD”) Sergeant




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Samuel Brustein (“Sgt. Brustein”) and Officer Josh Dickerson (“Officer Dickerson”)4

were directed by the GCPD to investigate a suspicious vehicle that was parked in

the parking lot of a 24-hour McDonald’s fast food restaurant located near the corner

of Satellite Boulevard and Duluth Highway in Gwinnett County. (Tr. at 6-8, 18-19,

40-41; Espinal Ex. 1). Sgt. Brustein and Officer Dickerson arrived at the scene in a

marked patrol vehicle at approximately 1:40 a.m. and parked their vehicle

somewhere behind a Ford F-150 truck that was parked in the corner of the parking

lot behind the McDonald’s restaurant, and the officers observed that the windows

of the truck were down and that a Hispanic male, later identified as Espinal,

appeared to be asleep in the front passenger seat of the truck. (Tr. at 7-9, 17, 24, 40-

41, 49-52, 62; Espinal Ex. 1).5 No one else appeared to be inside the truck other than


      4
         Sgt. Brustein testified that in July of 2009, he was a crime suppression
supervisor with the GCPD, that he had been with the GCPD since June of 1997, and
that he was a police officer in Alabama for the two years prior to his employment
with the GCPD. (Tr. at 6-7). Additionally, Officer Dickerson testified that he was
currently employed as a police officer by the Lawrenceville Police Department, but
that in July of 2009, he was assigned to the crime suppression unit at the GCPD. (Tr.
at 39-40).
      5
        Sgt. Brustein and Officer Dickerson testified that the GCPD directed them to
investigate a suspicious vehicle without providing them with any further details,
and that they did not know who had initiated the initial suspicious vehicle
complaint. (Tr. at 8, 19, 21-23, 25, 40-41, 56, 58). However, Sgt. Brustein also testified
that they were aware that this particular McDonald’s restaurant had been robbed on
numerous occasions, and that once they arrived on scene, it was suspicious to them
that there was a vehicle with its windows down and a passenger who appeared to
be sleeping in the passenger seat parked late at night in a business parking lot

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Espinal. (Tr. at 8-9).

      Sgt. Brustein and Officer Dickerson, both of whom wore uniforms that clearly

identified them as police officers, exited their patrol vehicle. (Tr. at 18, 24, 47-49).

Sgt. Brustein approached Espinal, and Officer Dickerson remained about an arm’s

length behind the truck to provide cover if needed. (Tr. at 41-42). After waking

Espinal, Sgt. Brustein asked him why he was there and whether he had any

identification. (Tr. at 9-10, 18, 24, 29-30, 47-49). Espinal produced a Puerto Rican

Operator’s License bearing the name “Ortiz Arroyo Florentino,” with a photograph

that appeared to be of Espinal, which Sgt. Brustein immediately gave to Officer

Dickerson to run through the National Crime Information Center (“NCIC”) and the

Georgia Crime Information Center (“GCIC”) databases. (Tr. at 10, 12, 42-43, 53). In

response to Sgt. Brustein’s question regarding why he was there, Espinal responded

that he had been in a fight with his girlfriend so a friend had driven him to that

location and left him there. (Tr. at 9, 26, 59). Espinal also explained that his friend

was not inside the McDonald’s restaurant, that he did not know where his friend

had gone, and that he was waiting for his friend to return. (Tr. at 9-10, 59-60).6


nearby Interstate 85 where suspects could simply “pull out, make one right, go
about a hundred feet and get on the interstate.” (Tr. at 20-21).
      6
          Sgt. Brustein testified that Espinal’s explanation of why he was sitting in a
parked car in a commercial parking lot at that time of night “did not make sense .
. . that somebody would have somehow dropped him off with a car and left him

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      Officer Dickerson ran the information on the Puerto Rican Operator’s License

through NCIC and GCIC at 1:57 a.m., and within approximately five minutes, he

received a response that there was no information on record for that particular

license, which indicated to both Sgt. Brustein and Officer Dickerson that the license

either contained incorrect information or that it was not valid and likely false. (Tr.

at 10-11, 42-43, 69); see also [Doc. 56].7 At this time, Sgt. Brustein asked for and

received consent to search Espinal’s truck. (Tr. at 11, 43).8

      During the search of the truck, Sgt. Brustein found a court order relating to a

family violence arrest bearing the name “Albert Espinal,” and recovered a black

backpack containing black clothing from the back seat of the truck. (Tr. at 11, 33, 44,

61). Subsequently, Sgt. Brustein advised Espinal that the license information had not

come back as valid and asked him about his true identity and the name “Albert

Espinal” that was on the court order. (Tr. at 11-12, 44). Espinal initially denied that

he was “Albert Espinal,” but after further questioning, he admitted that he was in


there.” (Tr. at 28).
      7
         Officer Dickerson also sent the license information directly to the
Commonwealth of Puerto Rico, and at 2:37 a.m., he received a similar response that
there was no information on record for that name and license number. (Tr. at 69);
see also [Doc. 56].
      8
        At some point either prior to or after asking for consent, either Sgt. Brustein
or Officer Dickerson asked Espinal to exit the truck and sit on a nearby curb, and
Espinal complied. (Tr. at 28-31, 41, 44, 53-54, 62, 66-68).

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fact “Albert Espinal,” provided a date of birth of May 2, 1978, and explained to the

officers that he had given them the Puerto Rican identification card because “that’s

what he had on him.” (Tr. at 12, 44-45). Officer Dickerson ran this information

through NCIC and GCIC at 2:55 a.m., and within a minute, information was

returned showing that Espinal had outstanding warrants for aggravated assault and

was to be considered armed and dangerous. (Tr. at 12-13, 45); [Doc. 56]. At this

time, additional officers arrived at the scene as back-up, and Espinal was placed

under arrest. (Tr. at 13, 32, 45-46). Espinal was searched incident to his arrest, and

officers recovered a plastic bag containing a powdery white substance suspected to

be cocaine. (Tr. at 13, 46).

      2.     Applicable Law

      “The Fourth Amendment of the United States Constitution guarantees ‘[t]he

right of the people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures.’” United States v. Adigun, Criminal Case No.

1:10–cr–00202–RWS–RGV, 2011 WL 2194253, at *15 (N.D. Ga. May 4, 2011), adopted

by 2011 WL 2198308, at *1 (N.D. Ga. June 3, 2011) (alteration in original) (quoting

U.S. Const. amend. IV). “The Supreme Court has identified three distinct types of

police-citizen encounters, each requiring a different level of suspicion to be deemed

reasonable under the Fourth Amendment: ‘(1) arrest, which must be supported by



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probable cause; (2) brief investigatory stops, which must be supported by reasonable

articulable suspicion; and (3) brief encounters between police and citizens, which

require no objective justification.’” United States v. Brown, 401 F.3d 588, 592 (4th

Cir. 2005) (quoting United States v. Weaver, 282 F.3d 302, 309 (4th Cir. 2002)). See

also United States v. Jordan, 635 F.3d 1181, 1185 (11th Cir. 2011); United States v.

Hastamorir, 881 F.2d 1551, 1556 (11th Cir. 1989); United States v. Puglisi, 723 F.2d

779, 783 (11th Cir. 1984); United States v. Hunter, No. 1:07-CR-310-1-TWT, 2008 WL

552881, at *3 (N.D. Ga. Feb. 25, 2008), adopted at *1.

      “[L]aw enforcement officers do not violate the Fourth Amendment by merely

approaching an individual on the street or in another public place . . . .” Florida v.

Bostick, 501 U.S. 429, 434 (1991) (quoting Florida v. Royer, 460 U.S. 491, 497 (1983)).

See also United States v. Mendenhall, 446 U.S. 544, 553-54 (1980) (citation omitted)

(there is nothing in the Constitution which prevents a police officer from addressing

questions to anyone on the streets); Miller v. Harget, 458 F.3d 1251, 1257 (11th Cir.

2006) (“This Court has decided on several occasions that a police officer does not

seize an individual merely by approaching a person in a parked car.”) (citations

omitted). In Bostick, the Supreme Court held that:

      [A] seizure does not occur simply because a police officer approaches
      an individual and asks a few questions. So long as a reasonable person
      would feel free “to disregard the police and go about his business,” the
      encounter is consensual and no reasonable suspicion is required. The

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      encounter will not trigger Fourth Amendment scrutiny unless it loses
      its consensual nature.

501 U.S. at 434 (quoting California v. Hodari D., 499 U.S. 621, 628 (1991)) (internal

citation omitted).   Even if officers have no basis for suspecting a particular

individual, “they may generally ask questions of that individual, ask to examine the

individual’s identification, and request consent to search his or her [property] – as

long as the police do not convey a message that compliance with their requests is

required.” Id. at 434-35 (internal citations omitted). See also United States v.

Graham, No. 2:06-cr-144-WKW, 2007 WL 2746656, at *3 (M.D. Ala. Sept. 19, 2007),

adopted at *1 (collecting cases). An individual’s Fourth Amendment right is

implicated when he is no longer “free to leave.” Michigan v. Chesternut, 486 U.S.

567, 573 (1988) (internal marks and citation omitted). See also United States v.

Mitchell, 407 F. App’x 407, 409 (11th Cir. 2011) (per curiam) (unpublished). “[T]o

determine whether a particular encounter constitutes a seizure, a court must

consider all of the circumstances surrounding the encounter to determine whether

the police conduct would have communicated to a reasonable person that the person

was not free to decline the officers’ requests or otherwise terminate the encounter.”

Bostick, 501 U.S. at 439. See also United States v. Hunter, 373 F. App’x 973, 976 (11th

Cir. 2010) (per curiam) (unpublished).




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      A seizure arises “[o]nly when the officer, by means of physical force or show

of authority, has in some way restrained the liberty of a citizen.” Terry v. Ohio, 392

U.S. 1, 19 n.16 (1968). See also Miller, 458 F.3d at 1257; United States v. Lowe, No.

CR 311–001, 2011 WL 2600513, at *4 (S.D. Ga. June 16, 2011), adopted by 2011 WL

2710393, at *1 (N.D. Ga. July 12, 2011). “Some factors which ‘might indicate a

seizure, even where the person did not attempt to leave, would be the threatening

presence of several officers, the display of a weapon by an officer, some physical

touching of the person of the citizen, or the use of language or tone of voice

indicating that compliance with the officer’s request might be compelled.’” Hunter,

2008 WL 552881, at *3 (quoting Mendenhall, 446 U.S. at 554). See also United States

v. Edwards, No. 1:05-cr-0097-WSD-JFK, 2007 WL 2479288, at *3 (N.D. Ga. Aug. 28,

2007). Other factors courts have considered include prolonged retention of a

person’s personal effects, a request to accompany the officer to the station, and

whether the encounter occurred in a nonpublic place or in a small, enclosed space.

United States v. Laboy, 979 F.2d 795, 799 (10th Cir. 1992) (collecting cases). That an

officer does not specifically advise the person of his right to walk away does not

elevate the encounter into a seizure absent some other evidence of coercion or

restricted freedom. United States v. Hathcock, 103 F.3d 715, 719 (8th Cir. 1997).

Additionally, an officer’s unexpressed intent to detain the individual had he



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attempted to leave is irrelevant under the objective standard utilized in determining

whether a Fourth Amendment seizure has occurred. United States v. Archer, 840

F.2d 567, 572 (8th Cir. 1988) (citing Mendenhall, 446 U.S. at 554 n.6). See also

Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2080 (2011).

      Therefore, “[t]he key inquiry is whether, under the totality of the

circumstances, ‘the police conduct would have communicated to a reasonable

person that he was not at liberty to ignore the police presence and go about his

business.’” Edwards, 2007 WL 2479288, at *3 (quoting United States v. Baker, 290

F.3d 1276, 1278 (11th Cir. 2002)). “‘That is, where a reasonable person would feel

free to decline the officers’ requests or otherwise terminate the encounter, the

encounter with the police is consensual, and the Fourth Amendment is not

implicated.’” Id. (quoting United States v. Ramirez, 476 F.3d 1231, 1238 (11th Cir.

2007)). Thus, a consensual encounter becomes a Terry stop if the defendant’s

cooperation “is induced by ‘coercive means’ or if a reasonable person would not

‘feel free to terminate the encounter.’” United States v. Wright, No. 3:06cr447/MCR,

2006 WL 3483503, at *2 (N.D. Fla. Nov. 30, 2006) (quoting United States v. Perez, 443

F.3d 772, 777-78 (11th Cir. 2006)).

      An investigative stop of an individual by law enforcement, as opposed to a

police-citizen encounter, triggers Fourth Amendment scrutiny. Hunter, 373 F. App’x



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at 976. An officer may briefly detain a person for an investigative Terry stop only

when there exists “reasonable suspicion,” based on articulable facts, that “criminal

activity may be afoot.” Terry, 392 U.S. at 30; United States v. Sokolow, 490 U.S. 1,

7 (1989) (citation omitted); Hunter, 373 F. App’x at 976. Officers need not have

probable cause. Sokolow, 490 U.S. at 7 (“[T]he level of suspicion required for a Terry

stop is obviously less demanding than that for probable cause.”). See also United

States v. Blackman, 66 F.3d 1572, 1576 (11th Cir. 1995); United States v. Diaz-

Lizaraza, 981 F.2d 1216, 1220 (11th Cir. 1993).

      When evaluating the propriety of an investigative stop, the Court must

determine whether reasonable suspicion existed in view of the totality of the

circumstances. United States v. Arvizu, 534 U.S. 266, 273-74 (2002); United States v.

Caraballo, 595 F.3d 1214, 1222 (11th Cir. 2010). Although “the concept of reasonable

suspicion is somewhat abstract,” courts “have deliberately avoided reducing it to

‘a neat set of legal rules.’” Arvizu, 534 U.S. at 274 (quoting Ornelas v. United States,

517 U.S. 690, 695-96 (1996)). The officer must articulate some minimal, objective

justification for an investigatory stop based on the totality of the circumstances and

the collective knowledge of the officers involved in the stop. Sokolow, 490 U.S. at

7-8; United States v. Williams, 876 F.2d 1521, 1524 (11th Cir. 1989); United States v.

Cotton, 721 F.2d 350, 352 (11th Cir. 1983); United States v. Rodriguez-Alejandro, 664



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F. Supp. 2d 1320, 1334-35 (N.D. Ga. 2009), adopted at 1326. A reasonable suspicion

determination must be based on common sense judgments and inferences about

human behavior. Illinois v. Wardlow, 528 U.S. 119, 125 (2000); United States v.

Cortez, 449 U.S. 411, 418 (1981); United States v. Reed, 402 F. App’x 413, 415 (11th

Cir. 2010) (per curiam) (unpublished).

      While the reasonable suspicion standard is not onerous, an officer’s reliance

on a “mere hunch” is not sufficient to establish reasonable suspicion. Arvizu, 534

U.S. at 274 (citation omitted). See also United States v. Lopez-Garcia, 565 F.3d 1306,

1313 (11th Cir. 2009). Factors that have been found to properly support reasonable

suspicion include: (1) presence in a high crime area, Wardlow, 528 U.S. at 124;

Adams v. Williams, 407 U.S. 143, 144, 147-48 (1972); (2) the hour at which the activity

is taking place, Arvizu, 534 U.S. at 274, 277; (3) observation by law enforcement of

what appears to be criminal conduct based on their experience, Terry, 392 U.S. at 22-

23; and (4) evasive conduct, Wardlow, 528 U.S. at 124; United States v. Brignoni-

Ponce, 422 U.S. 873, 885 (1975). See also United States v. Marcelino, 736 F. Supp. 2d

1343, 1348-49 (N.D. Ga. 2010), adopted at 1345. As part of a Terry stop, an officer

may conduct “a reasonable search for weapons for the protection of the police

officer, where he has reason to believe that he is dealing with an armed and

dangerous individual, regardless of whether he has probable cause to arrest the



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individual for a crime.” Terry, 392 U.S. at 27. Mindful of these principles, the Court

turns to the totality of the circumstances confronting Sgt. Brustein and Officer

Dickerson when they encountered Espinal on July 9, 2009, and the reasonable

inferences to be drawn therefrom.

      3.     Analysis

      The first issue to be decided is whether the initial encounter between Sgt.

Brustein and Espinal in the McDonald’s parking lot implicated the Fourth

Amendment. Espinal argues that the evidence seized and statements obtained by

the officers should be suppressed because the officers did not have a reasonable,

articulable suspicion that he was involved in any criminal activity to warrant his

stop and subsequent detention. [Doc. 60]. The government contends that the

officers had a reasonable suspicion to approach and detain Espinal, which quickly

ripened into probable cause to arrest. [Doc. 58]. The evidence shows that Sgt.

Brustein’s initial contact with Espinal was a lawful encounter, and that subsequent

to this initial encounter, a series of events quickly unfolded that provided Sgt.

Brustein with reasonable suspicion to briefly detain Espinal, and thereafter resulted

in probable cause for his arrest.

      Sgt. Brustein and Officer Dickerson initiated contact with Espinal at

approximately 1:40 a.m., after receiving a report about a suspicious vehicle in the



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parking lot of a McDonald’s restaurant that was known to have been robbed on

numerous occasions. (Tr. at 6-9, 17-21, 24, 40-41, 49-52, 62). Upon arrival, the

officers parked their patrol vehicle behind a truck that was parked in the corner of

the parking lot behind McDonald’s and observed Espinal asleep in the front

passenger seat with the windows rolled down. (Id.). The officers exited their

vehicle and Sgt. Brustein approached Espinal on foot and, after waking him, asked

him why he was there and whether he had any identification. (Tr. at 9-10, 18, 24, 29-

30, 41-42, 47-49). Espinal produced a Puerto Rican Operator’s License bearing the

name “Ortiz Arroyo Florentino” as well as what appeared to be Espinal’s

photograph, and explained that he had been in a fight with his girlfriend earlier that

night so a friend had driven him to that location and left him there, but that his

friend was not inside the McDonald’s restaurant, that he did not know where he

was, and that he was awaiting his return. (Tr. at 9-10, 12, 26, 42-43, 53, 59-60).

      “‘[A]n officer’s approach of a car parked in a public place does not constitute

an investigatory stop or higher echelon Fourth Amendment seizure.’” United States

v. Moulton, Criminal Case No. 1:10-CR-00120-MHS-RGV, 2010 WL 6084115, at *5

(N.D. Ga. Nov. 22, 2010), adopted by 2011 WL 902639, at *1 (N.D. Ga. Mar. 14, 2011)

(quoting United States v. Ingram, 151 F. App’x 597, 599 (9th Cir. 2005) (unpublished)

(Reavley, J., dissenting) (internal marks and citations omitted)) (alteration in



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original); see also United States v. Graham, 323 F. App’x 793, 798 (11th Cir. 2009)

(per curiam) (unpublished). “Therefore, the mere act of approaching [Espinal] in his

parked car was permissible, regardless of whether the officers had reasonable

suspicion of criminal activity, Graham, 323 F. App’x at 798 (citing Baker, 290 F.3d

at 1279), “and here, the officers did nothing to indicate that [Espinal] was being

seized or detained when they first approached him,” Moulton, 2010 WL 6084115, at

*5.

       Specifically, there is no evidence that the officers had their weapons drawn

or that they were using a threatening tone when they approached and roused

Espinal from his sleep.9 Moreover, “the fact that the officers partially blocked the

vehicle [Espinal] was in with their patrol car[] does not transform the consensual

encounter into a seizure under the Fourth Amendment.” Id. (citing United States

v. Kim, 25 F.3d 1426, 1428, 1430-31 (9th Cir. 1994) (“finding that an officer’s initial

encounter with defendant, who was seated in his lawfully parked car, was not a

seizure where the officer parked his car partially blocking defendant’s car,

approached defendant’s car on foot, and asked for, and received permission to

question the defendant”)). See also Am. Fed’n of Labor and Congress of Indus.

       9
        In fact, Officer Dickerson even testified that when they observed Espinal
asleep in the vehicle, they wanted to also determine whether something was wrong
with him or if he needed help, and that they were “just trying to figure out exactly
what’s going on.” (Tr. at 57).

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Orgs. v. City of Miami, Fla., 637 F.3d 1178, 1191 (11th Cir. 2011) (“A seizure occurs

whenever the police restrain the freedom of a person to walk away.”) (internal

marks and citations omitted); United States v. Thompson, 546 F.3d 1223, 1228-29

(10th Cir. 2008) (finding defendant’s encounter with officer consensual even though

his vehicle may have been partially blocked in the parking spot); United States v.

Summers, 268 F.3d 683, 687 (9th Cir. 2001) (finding interaction with defendant was

consensual even where officer partially blocked defendant’s vehicle stating, “[The

defendant’s] car was parked and was only partially blocked. Nothing prevented

him from leaving the scene on foot.”). But see United States v. Jones, 562 F.3d 768,

772-73 (6th Cir. 2009) (finding a seizure because a reasonable person would not feel

free to leave once officers had blocked his vehicle). There is simply “nothing in the

record to support a finding that [the officers] did anything to impede [Espinal] from

leaving. . . during the initial encounter,” United States v. Robson, No.

2:07-mj-00045-PAL-PAL, 2007 WL 3232524, at *3 (D. Nev. Oct. 30, 2007), and under

these circumstances, Sgt. Brustein’s initial approach and questioning of Espinal was

a consensual encounter and did not constitute a Terry stop. See United States v.

Drayton, 536 U.S. 199, 200 (2002) (“Law enforcement officers do not violate the

Fourth Amendment’s prohibition of unreasonable seizures merely by approaching

individuals on the street or in other public places and putting questions to them if



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they are willing to listen.”); Bostick, 501 U.S. at 434 (“[S]eizure does not occur simply

because a police officer approaches an individual and asks a few questions.”);

United States v. Scott, 368 F. App’x 392, 394 (4th Cir. 2010) (per curiam)

(unpublished) (finding “Fourth Amendment was not implicated when the officers

approached [the defendant], roused him, and inquired about his well-being” where

“defendant was slumped over in his vehicle at a time and in a neighborhood known

for significant illicit drug activity.”); United States v. Townsend, 206 F. App’x 444,

448 (6th Cir. 2006) (unpublished) (approaching parked vehicle at a gas station in

response to a suspicious person complaint where sole occupant appeared to either

have fallen asleep or passed out was permissible consensual encounter); United

States v. Foster, 376 F.3d 577, 581-84 (6th Cir. 2004) (finding no seizure where three

uniformed officers approached defendant as he was emerging from a parked car

with the engine running and asked him his name, what he was doing, and whether

he had identification).

      Once Espinal provided his nonsensical explanation for why he was present

in the McDonald’s parking lot, Sgt. Brustein, who had arrived at that location to

investigate a suspicious vehicle report from the GCPD and found Espinal sleeping

in the passenger seat of a parked truck at 1:40 a.m. in a parking lot of a business

known to have been robbed on numerous occasions and located in such a way that



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it is easy for suspects to simply “pull out, make one right, go about a hundred feet

and get on the interstate,” (Tr. at 20-21, 28), had a reasonable suspicion, based on

articulable facts, for an investigatory stop and constitutional justification to briefly

detain Espinal. United States v. Briggman, 931 F.2d 705, 707, 709 (11th Cir. 1991)

(per curiam) (finding officer had reasonable suspicion to stop driver sitting in a

parked car in the early morning hours in a lot near several businesses that had

recently been robbed); United States v. Farmer, No. 2:07-cr-50-FtM-34SPC, 2008 WL

2397597, at *11 (M.D. Fla. June 10, 2008); see also United States v. Stewart, 631 F.3d

453, 458 (8th Cir. 2011). Additionally, Officer Dickerson ran the information

contained on the Puerto Rican Operator’s License through NCIC and GCIC at 1:57

a.m., and within approximately five minutes, he received a response that there was

no record for that particular license, which indicated to the officers that the license

either contained incorrect information or that it was not valid and likely false. (Tr.

at 10-11, 42-43, 69); [Doc. 56]. Armed with this knowledge, Sgt. Brustein then asked

for and received consent to search Espinal’s truck. (Tr. at 11, 43). Under the totality

of these circumstances, and “as each answer to [Sgt. Brustein’s] investigative

questions failed to allay his concerns, [Sgt. Brustein’s] reasonable suspicion was

bolstered,” which justified “his continuing to detain [Espinal] . . . and his request to

search the truck.” United States v. Hernandez, 418 F.3d 1206, 1211 (11th Cir. 2005)



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(footnote omitted); see also United States v. Acosta, Criminal Case No.

1:09–CR–184–JEC, 2011 WL 2401829, at *27 (N.D. Ga. June 13, 2011), adopted at *1

(“[A]n officer conducting a . . . traffic stop may request consent to search the

vehicle.”) (citations omitted).

      In fact, by the time Sgt. Brustein sought consent to search the truck, which was

approximately 20 minutes after his initial encounter with Espinal, the following

circumstances provided him a particularized basis for reasonable suspicion: (1) the

suspicious vehicle report; (2) finding Espinal asleep at 1:40 a.m. in the front

passenger seat of a truck parked at a McDonald’s known to have had past

robberies;10 (3) Espinal’s implausible explanation for being in the parking lot at that



      10
         Espinal argues that if “reasonable suspicion was based on prior robberies
or burglaries,” then the government should have presented “evidence from the
McDonald’s with specific facts that particularized the officers’ suspicion,” but that
it “failed to present any direct, objective evidence that robberies had occurred
recently.” [Doc. 60 at 12, 14-15, 17]. Therefore, Espinal contends that the
government is offering after-the-fact reasonable suspicion. [Id. at 12]. This
argument, however, overlooks the fact that Sgt. Brustein clearly testified that the
McDonald’s restaurant had been robbed on numerous occasions, (Tr. at 21), and the
government is entitled to rely on this testimony in its reasonable suspicion analysis.
Furthermore, although Espinal points out other investigative techniques that the
officers could have employed rather than approaching and questioning him, [Doc.
60 at 16-17], “[t]he reasonableness of the officer’s decision to stop a suspect does not
turn on the availability of less intrusive investigatory techniques” as “[s]uch a rule
would unduly hamper the police’s ability to make swift, on-the-spot decisions . . .
and it would require courts to indulge in unrealistic second-guessing.” Sokolow,
490 U.S. at 11 (internal marks and citations omitted). See also Courson v. McMillian,
939 F.2d 1479, 1491 (11th Cir. 1991).

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time of night; and (4) the fact that nothing turned up in any database matching the

information on the license Espinal had provided, which reasonably led the officers

to suspect that he was using and in possession of false identification. See id.

“Viewed through the lens of an experienced police officer, these circumstances

added up to a reasonable suspicion that [Espinal was] involved in criminal activity.”

United States v. Sanchez-Sosa, Criminal Action No. 10-20108-01-KHV, 2011 WL

663180, at *5 (D. Kan. Feb. 14, 2011).

      “If a detention is supported by reasonable suspicion, officers are generally

permitted to detain a person to ascertain his or her identity.” United States v. Lara-

Garcia, No. 2:05 CR 391 TC, 2006 WL 861384, at *5 (D. Utah Mar. 31, 2006) (citations

omitted). Indeed, although “[d]etention pursuant to a Terry stop must be temporary

and last no longer than is necessary to effectuate the purpose of the stop,” officers

may further detain a suspect where “further reasonable suspicion, supported by

articulable facts, emerges.” United States v. Mercer, No. CR 06-02-M-DWM, 2007

WL 1342480, at *3 (D. Mont. May 4, 2007), adopted at *1 (internal marks and citations

omitted). That is, while “‘brevity’ is an important consideration, it is a highly

context-sensitive one.” Farag v. United States, 587 F. Supp. 2d 436, 456 (E.D.N.Y.

2008) (citation omitted). Here, the officers had reason to believe that Espinal had

presented either a false or invalid identification, and Sgt. Brustein therefore had



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“reasonable suspicion to keep asking questions as to his true identity,” id., and to

further investigate whether Espinal had violated Georgia law11 since Espinal had

failed to dispel Sgt. Brustein’s suspicions about illegal activity and had actually

raised new ones, United States v. Torres-Sanchez, 83 F.3d 1123, 1128 (9th Cir. 1996).

At this point, Sgt. Brustein was justified in prolonging the stop “in order to

determine if [Espinal] had committed the crime of providing a false name to a police

officer.” United States v. Stoltz, Crim. No. 11–096 (RHK/LIB), 2011 WL 2533872, at

*8 (D. Minn. June 3, 2011), adopted by 2011 WL 25339129, at *1 (D. Minn. June 27,

2011) (citation omitted).

      During the search of Espinal’s truck, the officers located, among other things,

a court order relating to an arrest for family violence bearing the name “Albert

Espinal,” and Sgt. Brustein then advised Espinal that the license information was not

valid and asked him about his true identity and the name on the court order. (Tr.




      11
         It is a violation of Georgia law to give “a false name, address, or date of
birth to a law enforcement officer in the lawful discharge of his official duties with
the intent of misleading the officer as to his identity or birthdate.” O.C.G.A. § 16-10-
25. In addition, O.C.G.A. § 16-9-1 provides that a person “commits the offense of
forgery in the first degree when with intent to defraud he knowingly . . . possesses
any writing in a fictitious name or in such a manner that the writing as made or
altered purports to have been made by . . . authority of one who did not give such
authority and utters or delivers such writing.” O.C.G.A. § 16-9-1(a).

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at 11-12, 44).12 Espinal ultimately admitted that he was in fact “Albert Espinal” and

provided Sgt. Brustein with his date of birth. (Tr. at 12, 44-45).13 At this time, which

was approximately 2:55 a.m., Officer Dickerson ran this information through NCIC

and GCIC and within one minute, he received a response that Espinal had

outstanding warrants for aggravated assault and was to be considered armed and

dangerous. (Tr. at 12-13, 45); [Doc. 56]. Espinal subsequently was placed under

arrest and searched incident to his arrest, which led to the discovery of a plastic bag

containing a powdery white substance suspected to be cocaine. (Tr. at 13, 32, 45-46).

      Sgt. Brustein and Officer Dickerson pursued their investigation diligently and

with minimal intrusion, as the total amount of time from the initial encounter to his


      12
         Sometime prior to or after receiving consent to search, either Sgt. Brustein
or Officer Dickerson asked Espinal to exit the truck and sit on a nearby curb, and
Espinal complied. (Tr. at 28-31, 41, 44, 53-54, 62, 66-68). During the course of
investigating Espinal’s identity, “the officers were permitted to ask [him] to exit the
vehicle.” Stoltz, 2011 WL 2533872, at *9. That is, “[o]fficers who have conducted a
lawful Terry stop of a vehicle may order the driver to exit the vehicle pending
completion of the stop.” Id. (internal marks and citation omitted). Additionally, at
approximately 2:37 a.m., the officers had received a response from the
Commonwealth of Puerto Rico that advised them that there was no information on
record for the license information Espinal had initially provided the officers, which
further indicated that the Puerto Rican license he had provided was in fact false. (Tr.
at 69); [Doc. 56].
      13
         At this point, the officers had probable cause to arrest Espinal under
O.C.G.A. §§ 16-9-1 and 16-10-25. Therefore, the officers’ continued detention of
Espinal was no longer dependent upon reasonable suspicion because probable cause
existed to arrest him for a violation of Georgia law. See Acosta, 2011 WL 2401829,
at *63.

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arrest was approximately one hour and fifteen minutes. (Tr. at 7-8); [Doc. 56]; see

also United States v. Gil, 204 F.3d 1347, 1350 (11th Cir. 2000) (per curiam) (finding

one hour and fifteen minute detention of defendant in handcuffs in back of a patrol

car reasonable under Terry); United States v. Hardy, 855 F.2d 753, 761 (11th Cir.

1988) (finding Terry stop of fifty minutes duration reasonable). In sum, the totality

of the circumstances provided the officers with reasonable suspicion to detain

Espinal for further investigation, which ripened into probable cause to arrest him.

Since the officers had probable cause for the warrantless arrest of Espinal, evidence

was lawfully seized from his person incident to his arrest.14 Accordingly, it is

RECOMMENDED that Espinal’s motion to suppress evidence and statements,

[Doc. 31], be DENIED.




      14
         Espinal seeks to suppress all fruit of the alleged illegal detention and
seizure, including all statements he made at the scene of the stop, as well as any
evidence recovered by the officers. [Doc. 60 at 18]. Specifically, Espinal argues that
“[w]hen this Court finds that the detention is illegal, all else in this case is an
‘exploitation of that illegality’ and all evidence and statements should be
suppressed, despite a verbal consent.” [Id.]. Having found that the initial stop and
subsequent detention were lawful, Espinal’s fruit of the poisonous tree argument
fails. However, the government has conceded that it will not offer any statements
beyond those that Espinal made at the scene of his arrest. (Tr. at 3-5); see also [Doc.
58 at 2-3].

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                               II. CONCLUSION

      For the foregoing reasons and cited authority, Espinal’s unopposed motion

for a bill of particulars, [Doc. 33], is GRANTED, and it is hereby RECOMMENDED

that Espinal’s motion to suppress evidence and statements, [Doc. 31], be DENIED.

      There are no other pending matters before the Magistrate Judge,15 and the

undersigned is aware of no problems relating to the scheduling of this case.

Accordingly, it is ORDERED and ADJUDGED that this case is hereby certified

Ready for Trial.

      IT IS SO ORDERED and RECOMMENDED, this 29th day of August, 2011.



                                     RUSSELL G. VINEYARD
                                     UNITED STATES MAGISTRATE JUDGE




      15
        Motions filed by co-defendant Jose Reyes have been addressed in a separate
Report and Recommendation.

                                       26
